                Case 2:09-cr-20001-RHC-SDP ECF No. 25, PageID.88 Filed 06/29/09 Page 1 of 7
AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 1

                                                                                                         Judgment-Page 1 of 7



                                            United States District Court
                                                  Eastern District of Michigan
               United States of America                               JUDGMENT IN A CRIMINAL CASE
                          V.
             MATTHEW MERCER-KINSER                                    Case Number: 09CR20001-1
                                                                      USM Number: 42761-039

                                                                      Randall C. Roberts
                                                                      Defendant's Attorney


THE DEFENDANT:
    Pleaded guilty to count(s) 1 of the Information.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                        Offense Ended      Count
18:USC:2252A(a)(1)                  Transportation/Shipment of Child Pornography             4/22/2008          1

  The defendant is sentenced as provided in pages 2 through 7 of this judgment. This sentence is imposed pursuant to the
Sentencing Reform Act of 1984

   It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                      June 16, 2009
                                                                      Date of Imposition of Judgment




                                                                     s/Robert H Cleland
                                                                    _________________________________________
                                                                     United States District Judge



                                                                      June 29, 2009
                                                                      Date Signed
                Case 2:09-cr-20001-RHC-SDP ECF No. 25, PageID.89 Filed 06/29/09 Page 2 of 7
AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 2 - Imprisonment

                                                                                                    Judgment-Page 2 of 7
DEFENDANT: MATTHEW MERCER-KINSER
CASE NUMBER: 09CR20001-1

                                                   IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
151 months.

The court makes the following recommendations to the Bureau of Prisons: The court recommends the defendant participate
in the Bureau of Prisons Comprehensive Drug Treatment Program.

The defendant is remanded to the custody of the United States Marshal.




                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on _______________________________ to _______________________________________ a
__________________________________________, with a certified copy of this judgment.



                                                             _________________________________________
                                                              United States Marshal


                                                             _________________________________________
                                                              Deputy United States Marshal
                Case 2:09-cr-20001-RHC-SDP ECF No. 25, PageID.90 Filed 06/29/09 Page 3 of 7
AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 3- Supervised Release

                                                                                                      Judgment-Page 3 of 7
DEFENDANT: MATTHEW MERCER-KINSER
CASE NUMBER: 09CR20001-1
                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 10 years
   The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court. Revocation of supervised release is mandatory for possession of a
controlled substance.
    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
  is a student, as directed by the probation officer.
       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
       The defendant must comply with the standard conditions that have been adopted by this court as well as with any
  additional conditions on the attached page.
                                                  STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
  five days of each month;
  3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
  officer;
  4) the defendant shall support his or her dependents and meet other family responsibilities;
  5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
  or other acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
  controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
  convicted of a felony, unless granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
  confiscation of any contraband observed in plain view of the probation officer;
  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
  enforcement officer;
  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
  without the permission of the court;
  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
  defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
  notifications and to confirm the defendant's compliance with such notification requirement; and
  14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
  supervised release is mandatory for possession of a firearm.
                Case 2:09-cr-20001-RHC-SDP ECF No. 25, PageID.91 Filed 06/29/09 Page 4 of 7
AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 3C - Supervised Release

                                                                                                   Judgment-Page 4 of 7
DEFENDANT: MATTHEW MERCER-KINSER
CASE NUMBER: 09CR20001-1

                                           SPECIAL CONDITIONS OF SUPERVISION
     The defendant shall participate in a program approved by the Probation Department for mental health counseling.
    The defendant shall participate in a program approved by the Probation Department for substance abuse which program may
  include testing to determine if the defendant has reverted to the use of drugs or alcohol.

  The defendant shall take his psychotropic medications as prescribed.

  The defendant shall successfully complete any sex offender diagnostic evaluations, treatment or counseling programs,
  and polygraph examinations as directed by the probation officer. Reports pertaining to sex offender assessments,
  treatment, and polygraph examinations shall be provided to the probation officer. Based on the defendant's ability to
  pay, the defendant shall pay the costs of diagnostic evaluations, treatment or counseling programs, and polygraph
  examinations in a amount determined by the probation officer.

  The defendant shall not have any contact of any kind with children under the age of 18, unless supervised by and adult
  approved by the probation officer. The defendant shall not frequent places where children congregate. This includes,
  but is not limited to school grounds, playgrounds, toy stores, video arcades and the like.

  The defendant shall register as a sex offender as required by state and federal law.

  The defendant shall not be employed at or participate in any volunteer activities that involve contact with children
  under the age of 18, without approval from the probation officer.

  The defendant shall provide the probation officer with accurate information of all computer systems, including
  hardware and software, all passwords, all Internet service providers that the defendant has potential and/or reasonable
  access to, and shall abide by all the rules of the U.S. Probation Department’s computer monitoring program.

  The defendant shall not use or possess alcohol in any consumable form, nor shall he be in the social company of any
  person who the defendant knows to be in possession of alcohol or illegal drugs or visibly affected by them. The
  defendant shall not be found at any place that serves alcohol for consumption on the premises, with the exception of
  restaurants.
                Case 2:09-cr-20001-RHC-SDP ECF No. 25, PageID.92 Filed 06/29/09 Page 5 of 7
AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 5 - Criminal Monetary Penalties

                                                                                                            Judgment-Page 5 of 7
DEFENDANT: MATTHEW MERCER-KINSER
CASE NUMBER: 09CR20001-1

                                                  CRIMINAL MONETARY PENALTIES
                             Assessment                      Fine                                 Restitution
TOTALS:                      $ 100.00                        $ 0.00                               $ 0.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                                                         Total Loss*              Restitution Priority or
                                                                                                 Ordered Percentage
    TOTALS:                                                  $ 0.00                  $ 0.00




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                Case 2:09-cr-20001-RHC-SDP ECF No. 25, PageID.93 Filed 06/29/09 Page 6 of 7
AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 5A - Criminal Monetary Penalties

                                                                                                      Judgment-Page 6 of 7
DEFENDANT: MATTHEW MERCER-KINSER
CASE NUMBER: 09CR20001-1

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
The fine, costs of incarceration and supervision are waived due to the defendant's lack of financial resources.
                Case 2:09-cr-20001-RHC-SDP ECF No. 25, PageID.94 Filed 06/29/09 Page 7 of 7
AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 6 - Schedule of Payments

                                                                                                                     Judgment-Page 7 of 7
DEFENDANT: MATTHEW MERCER-KINSER
CASE NUMBER: 09CR20001-1

                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
[A] Lump sum payment of $100.00 due immediately.

Unless the court has expressly ordered otherwise in the special instructions above, while in custody, the defendant shall
participate in the Inmate Financial Responsibility Program. The Court is aware of the requirements of the program and approves
of the payment schedule of this program and hereby orders the defendant's compliance. All criminal monetary penalty payments
are to be made to the Clerk of the Court, except those payments made through the Bureau of Prison's Inmate Financial
Responsibility Program.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
